Case 5:17-cv-00032-MFU-JCH Document 125 Filed 04/17/18 Page 1 of 47 Pageid#: 1284




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                          HARRISONBURG DIVISION

  CARY HIXSON,                    )
                                  )
        Plaintiff,                )
                                  )
  v.                              )
                                  )
  DR. MICHAEL MORAN, in his       )
  individual capacity,            )
                                  )
  KATHERINE RAYNES,               )                  Civil Action No. 5:17-cv-32
  a nurse and employee of         )                  Consolidated with 5:18-cv-1
  Southern Health Partners, Inc., )
                                  )
  JANELLE SEEKFORD,               )
  a nurse and employee of         )
  Southern Health Partners, Inc., )
                                  )
  SOUTHERN HEALTH PARTNERS, INC., )                  JURY TRIAL DEMANDED
                                  )
  ROCKINGHAM COUNTY, VIRGINA, )
                                  )
  and                             )
                                  )
  THE CITY OF HARRISONBURG,       )
  VIRGINIA,                       )
                                  )
        Defendants.               )

       SECOND AMENDED COMPLAINT FOR MONETARY DAMAGES

        Plaintiff, Cary Hixson, files this Amended Complaint in accordance with

  42 U.S.C. § 1983 as the statutory vehicle to vindicate his rights under the Eighth




                                                                                       1
Case 5:17-cv-00032-MFU-JCH Document 125 Filed 04/17/18 Page 2 of 47 Pageid#: 1285




  and Fourteenth Amendments of the U.S. Constitution, and pursuant to the

  Constitution and laws of the Commonwealth of Virginia.

                                  INTRODUCTION

                                           1.

        When it comes to treating inmates that have medically diagnosed (and life-

  threatening) illnesses, the staff of Harrisonburg-Rockingham Regional Jail

  (“HRRJ”) are simply inhumane. For example, Plaintiff, Mr. Hixson, is a medically

  diagnosed diabetic. And at the time he entered HRRJ, medical staff knew that

  Mr. Hixson was diabetic because he told them, and HRRJ staff verified his status

  as a diabetic through medical records. Despite this knowledge, Defendants Dr.

  Moran, Katherine “Laney” Raynes, Janelle Seekford, and Southern Health

  Partners, Inc. (“SHP”) never—not once—provided Mr. Hixson with medically

  ordered and required insulin or other prescribed medication to help control Mr.

  Hixson’s serious diabetes. As a result, Mr. Hixson suffered excruciating pain

  throughout his feet, hands and legs, as well as experienced blurred vision,

  ringing in his ears, on top of his vital organs slowly depreciating in

  functionality—Dr. Moran knew all this because Mr. Hixson communicated to Dr.

  Moran, Seekford, Raynes, and SHP about his experience. In a desperate measure

  to assuage the negative effects of his untreated diabetes while at HRRJ, Hixson




                                                                                    2
Case 5:17-cv-00032-MFU-JCH Document 125 Filed 04/17/18 Page 3 of 47 Pageid#: 1286




  would exercise furiously in his cell for 15 to 30 minutes at a time trying to lower

  his blood sugar levels because he didn’t receive his medication.

                                           2.

        In fact, for months, Defendants monitored Mr. Hixson’s fasting blood

  sugar levels by drawing his blood in the morning—and despite Defendants

  seeing that Mr. Hixson suffered from escalating, skyrocketing blood sugar levels

  in the continuous, debilitating range of 160 to 407, Defendants refused to provide

  Mr. Hixson with insulin or prescribe medication to control Mr. Hixson’s

  medically diagnosed problem. Making matters way worse, Raynes threatened

  Mr. Hixson with solitary confinement if he continued to complain about not

  receiving his insulin or prescribed medication to treat his medically diagnosed

  health condition.

                                           3.

          While Mr. Hixson was incarcerated at HRRJ, Defendants showed

  deliberate indifference to Mr. Hixson’s diagnosed and serious medical need for

  his prescribed insulin and other medication, which Plaintiff had been taking to

  treat his medically diagnosed, serious diabetes. The host of evils perpetrated on

  Mr. Hixson also include medical malpractice regarding his ignored and

  desperate need for diabetic medication. By refusing to treat Mr. Hixson’s known,

  serious medical condition, Defendants breached all duties of care owed to Mr.


                                                                                      3
Case 5:17-cv-00032-MFU-JCH Document 125 Filed 04/17/18 Page 4 of 47 Pageid#: 1287




  Hixson regarding his health and wellbeing, utterly neglected Mr. Hixson’s safety,

  and acted with reckless indifference to the consequences that their actions would

  cause Mr. Hixson serious injury. In addition, on information and belief, HRRJ

  actually had a policy (informal or otherwise) in which insulin-dependent

  diabetics, including Cary Hixson, were intentionally refused insulin or other

  diabetic medication to control blood sugar levels because of the cost of said

  medication.

                            JURISDICTION AND VENUE

                                           4.

        Jurisdiction is proper under 28 U.S.C. §§ 1331 and 1343(a)(4), under 42

  U.S.C. § 1983, and on the supplemental jurisdiction of this Court to adjudicate

  claims arising under state law pursuant to 28 U.S.C. § 1367(a). Venue is proper

  under 28 U.S.C. § 1391(b) and L.R. 2 (b) because (1) a substantial part of the

  events and omissions giving rise to Mr. Hixson’s claims occurred within this

  District and Division and (2) Defendants reside and transact business in this

  District and Division.

                           ADMINISTRATIVE EXHAUSTION

                                           5.

        Mr. Hixson is not incarcerated and thus does not have to show that

  administrative remedies related to his claims have been exhausted.


                                                                                    4
Case 5:17-cv-00032-MFU-JCH Document 125 Filed 04/17/18 Page 5 of 47 Pageid#: 1288




                                      PARTIES

     A. Cary Hixson, Plaintiff
                                           6.

        Plaintiff Mr. Cary Hixson is aged 54, and currently not incarcerated. The

  facts pertaining to his claims are outlined in the Relevant Facts Section and

  Counts below.

     B. Dr. Moran, Defendant

                                           7.

        Defendant Dr. Michael Moran, at all times relevant, was the medical

  doctor at HRRJ.

                                           8.

        At all times relevant to this Complaint, Dr. Moran was responsible for

  ensuring that he knew all controlling law within the Fourth Circuit regarding

  deliberate indifference to medical needs, breaching duties of care, and complete

  neglect of inmate safety, including the Fourth Circuit Court of Appeals’ case law

  with respect to under-medicating inmates and flat-out denying demonstrably

  required prescription medication to inmates under Moran’s care.

                                           9.

        At all times relevant to this Complaint, Dr. Moran was acting under the

  color of state and federal laws, and Dr. Moran was responsible for knowing and

  acting in accordance with all policies, procedures, orders, special orders, general

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Case 5:17-cv-00032-MFU-JCH Document 125 Filed 04/17/18 Page 6 of 47 Pageid#: 1289




  orders, guidelines and regulations of HRRJ, while upholding his responsibility as

  the doctor for HRRJ.

     C. SHP Nurse Katherine Raynes, Defendant

                                          10.

        Defendant Nurse Katherine Raynes (“Nurse Raynes”), at all relevant

  times, was a nurse employed by Southern Health Partners, Inc. (“SHP”) to

  provide medical care to the inmates of HRRJ.

                                          11.

        At all times relevant to this Complaint, Nurse Raynes was responsible for

  ensuring that she knew all controlling law within the Fourth Circuit regarding

  deliberate indifference to medical needs, breaching duties of care, complete

  neglect of inmate safety, and willful and wanton negligent conduct, including the

  Fourth Circuit Court of Appeals’ case law with respect to under-medicating

  inmates and flat-out denying demonstrably required prescription medication to

  inmates under Nurse Raynes’s care.

                                          12.

        At all times relevant to this Complaint, Nurse Raynes was acting under the

  color of state and federal laws, she was responsible for knowing and acting in

  accordance with all policies, procedures, orders, special orders, general orders,




                                                                                      6
Case 5:17-cv-00032-MFU-JCH Document 125 Filed 04/17/18 Page 7 of 47 Pageid#: 1290




  guidelines and regulations in effect at HRRJ, while upholding her duties of care

  to inmates at HRRJ.

     D. SHP Nurse Janelle Seekford, Defendant

                                          13.

        Defendant Nurse Janelle Seekford (“Nurse Seekford”), at all relevant

  times, was a nurse employed by Southern Health Partners, Inc. (“SHP”) to

  provide medical care to the inmates of HRRJ.

                                          14.

        At all times relevant to this Complaint, Nurse Seekford was responsible for

  ensuring that she knew all controlling law within the Fourth Circuit regarding

  deliberate indifference to medical needs, breaching duties of care, complete

  neglect of inmate safety, and willful and wanton negligent conduct, including the

  Fourth Circuit Court of Appeals’ case law with respect to under-medicating

  inmates and flat-out denying demonstrably required prescription medication to

  inmates under Nurse Seekford’s care.

                                          15.

        At all times relevant to this Complaint, Nurse Seekford was acting under

  the color of state and federal laws, she was responsible for knowing and acting in

  accordance with all policies, procedures, orders, special orders, general orders,




                                                                                      7
Case 5:17-cv-00032-MFU-JCH Document 125 Filed 04/17/18 Page 8 of 47 Pageid#: 1291




  guidelines and regulations in effect at HRRJ, while upholding her duties of care

  to inmates at HRRJ.

     E. Southern Health Partners, Inc., Defendant

                                         16.

        Defendant Southern Health Partners, Inc., at all relevant times, was a

  Tennessee corporation doing business in and with the Commonwealth of

  Virginia as a regional health care provider that employs and contracts with

  medical care professionals to provide medical care to inmates at HRRJ.

     F. Rockingham County, Virginia, Defendant

                                         17.

        Defendant Rockingham County, at all times relevant, was a political

  subdivision of the Commonwealth of Virginia.

     G. City of Harrisonburg, Virginia, Defendant

                                         18.

        Defendant City of Harrisonburg, at all times relevant, was a political

  subdivision of the Commonwealth of Virginia.




                                                                                     8
Case 5:17-cv-00032-MFU-JCH Document 125 Filed 04/17/18 Page 9 of 47 Pageid#: 1292




                                   RELEVANT FACTS

            A. Facts related to Mr. Hixson’s Blood Sugar readings and
               Defendants’ failure to provide him with his diabetic medication

                                         19.

        At all relevant times to this Complaint, Nurse Raynes was responsible for

  providing medical care to the inmates of HRRJ, including Mr. Hixson.

                                         20.

        At all relevant times to this Complaint, Nurse Seekford was responsible for

  providing medical care to the inmates of HRRJ, including Mr. Hixson.

                                         21.

        Upon entering HRRJ, SHP personnel performed a medical screening of Mr.

  Hixson and inquired as to whether Mr. Hixson was taking prescribed

  medication, and Mr. Hixson told SHP personnel that he suffered from medically

  diagnosed diabetes and as a result, he must take medication (including insulin)

  to treat his serious diabetes.

                                         22.

        After Mr. Hixson told SHP personnel that he suffered from diabetes, and

  that he had been prescribed insulin medication, Mr. Hixson provided SHP

  nurses with information as to where to acquire his medical records from

  previous medical providers.




                                                                                    9
Case 5:17-cv-00032-MFU-JCH Document 125 Filed 04/17/18 Page 10 of 47 Pageid#: 1293




                                             23.

         During Mr. Hixson’s entire stay at HRRJ, Nurse Raynes and Nurse

   Seekford knew Mr. Hixson required diabetes medication because Nurse Raynes

   and Nurse Seekford reviewed Mr. Hixson’s medical records, which

   demonstrated that while at HRRJ, Mr. Hixson required prescribed diabetes

   medication to treat his condition and also required a diabetic diet.

                                             24.

         While Mr. Hixson was incarcerated at HRRJ, SHP nurses actually recorded

   in Mr. Hixson’s records that Mr. Hixson was a Type 1 Diabetic.

                                             25.

         Nurse Raynes and Nurse Seekford took daily fasting blood sugar readings

   from Mr. Hixson, and both read and recorded Hixson’s blood sugar levels on a

   SHP form called the Blood Sugar Flow Sheet.

                                             26.

         The Blood Sugar Flow Sheet states at the top of the page that: blood sugar

   tests check for conditions such as hypoglycemia (low blood sugar), pre-diabetes,

   and diabetes; common tests include a fasting blood sugar which is no eating or

   drinking for at least 8 hours prior to testing.




                                                                                  10
Case 5:17-cv-00032-MFU-JCH Document 125 Filed 04/17/18 Page 11 of 47 Pageid#: 1294




                                          27.

         The physician order/instructions at the top of Mr. Hixson’s Blood Sugar

   Flow Sheet indicate that the SHP nurses, including Nurse Raynes and Nurse

   Seekford, were to check Mr. Hixson’s Fasting Blood Sugar levels in the morning.

                                          28.

         Combined, Nurses Nurse Raynes and Nurse Seekford took blood sugar

   readings from Mr. Hixson 150 times.

                                          29.

         Of the 150 times Nurse Raynes and Nurse Seekford took blood sugar

   readings from Mr. Hixson, 139 of those readings were recorded as taken at

   04:30am.

                                          30.

         The Blood Sugar Flow Sheet states at the top of the page that: blood sugar

   tests less than 110 is considered normal.

                                          31.

         Of the 150 times that Nurses Nurse Raynes and Nurse Seekford took blood

   sugar readings, Mr. Hixson’s blood sugar test read less than 110 mg/dL only

   three (3) times, meaning that Mr. Hixson’s blood sugar test read over 110

   mg/DL one hundred forty-seven (147) times as not normal.




                                                                                   11
Case 5:17-cv-00032-MFU-JCH Document 125 Filed 04/17/18 Page 12 of 47 Pageid#: 1295




                                         32.

         Mr. Hixson’s blood sugar levels were measured as being over 180 mg/dL

   on 41 occasions, and actually measured as high as 407 mg/dL.

                                         33.

         Nurse Raynes had the authority to ensure medication was ordered to treat

   Mr. Hixson’s medically diagnosed diabetes.

                                         34.

         Nurse Seekford had the authority to ensure medication was ordered to

   treat Mr. Hixson’s medically diagnosed diabetes.

                                         35.

         Nurse Raynes had the authority to provide Mr. Hixson with some type of

   medication to treat Mr. Hixson’s medically diagnosed diabetes.

                                         36.

         Nurse Seekford had the authority to provide Mr. Hixson with some type of

   medication to treat Mr. Hixson’s medically diagnosed diabetes.

                                         37.

         Despite Mr. Hixson’s severely high blood sugar levels, Nurse Raynes

   refused to provide Mr. Hixson with insulin to treat his medically diagnosed

   diabetes.




                                                                                 12
Case 5:17-cv-00032-MFU-JCH Document 125 Filed 04/17/18 Page 13 of 47 Pageid#: 1296




                                          38.

         Despite Mr. Hixson’s severely high blood sugar levels, Nurse Seekford

   refused to provide Mr. Hixson with insulin to treat his medically diagnosed

   diabetes.

                                          39.

         Despite Mr. Hixson’s severely high blood sugar levels, Nurse Raynes

   refused to order Mr. Hixson insulin to treat his medically diagnosed diabetes.

                                          40.

         Despite Mr. Hixson’s severely high blood sugar levels, Nurse Seekford

   refused to order Mr. Hixson insulin to treat his medically diagnosed diabetes.

                                          41.

         Despite Mr. Hixson’s severely high blood sugar levels, Nurse Raynes

   refused to order Mr. Hixson any medication to treat his medically diagnosed

   diabetes.

                                          42.

         Despite Mr. Hixson’s severely high blood sugar levels, Nurse Seekford

   refused to order Mr. Hixson any medication to treat his medically diagnosed

   diabetes.




                                                                                    13
Case 5:17-cv-00032-MFU-JCH Document 125 Filed 04/17/18 Page 14 of 47 Pageid#: 1297




                                          43.

         Despite Mr. Hixson’s severely high blood sugar levels, Nurse Raynes

   refused to provide Mr. Hixson with any medication that treats diabetes.

                                          44.

         Despite Mr. Hixson’s severely high blood sugar levels, Nurse Seekford

   refused to provide Mr. Hixson with any medication that treats diabetes.

                                          45.

         As a professional nurse, Nurse Raynes knew the serious, life-threatening

   risks of untreated diabetes and high blood sugar levels because she was trained

   to know those risks prior to reading and understanding that Mr. Hixson suffered

   from untreated diabetes and high blood sugar levels.

                                          46.

         As a professional nurse, Nurse Seekford knew the serious, life-threatening

   risks of untreated diabetes and high blood sugar levels because she was trained

   to know those risks prior to reading and understanding that Mr. Hixson suffered

   from untreated diabetes and high blood sugar levels.

                                          47.

         As a professional nurse, Nurse Raynes knew the risks to Mr. Hixson in

   particular if his diabetes went untreated because she was trained to know those




                                                                                    14
Case 5:17-cv-00032-MFU-JCH Document 125 Filed 04/17/18 Page 15 of 47 Pageid#: 1298




   risks prior to reading and understanding that Mr. Hixson suffered from

   untreated diabetes and high blood sugar levels.

                                           48.

         As a professional nurse, Nurse Seekford knew the risks to Mr. Hixson in

   particular if his diabetes went untreated because she was trained to know those

   risks prior to reading and understanding that Mr. Hixson suffered from

   untreated diabetes and high blood sugar levels.

                                           49.

         As a medical professional, Nurse Raynes knew that extended periods of

   high blood sugar levels could cause excruciating pain, as well as blurred vision,

   ringing in the ears, and severe discomfort because Nurse Raynes received

   training about the negative physical effects that occur from untreated diabetes,

   such as pain, ringing of the ears, blurred vision, and discomfort.

                                           50.

         As a medical professional, Nurse Seekford knew that extended periods of

   high blood sugar levels could cause excruciating pain, as well as blurred vision,

   ringing in the ears, and severe discomfort because Nurse Seekford received

   training about the negative physical effects that occur from untreated diabetes,

   such as pain, ringing of the ears, blurred vision, and discomfort.




                                                                                      15
Case 5:17-cv-00032-MFU-JCH Document 125 Filed 04/17/18 Page 16 of 47 Pageid#: 1299




                                           51.

         As a medical professional, Nurse Raynes knew that extended periods of

   high blood sugar levels cause damage to internal organs because Nurse Raynes

   received training with respect to internal organ damage caused by untreated

   diabetes.

                                           52.

         As a medical professional, Nurse Seekford knew that extended periods of

   high blood sugar levels cause damage to internal organs because Nurse Seekford

   received training with respect to internal organ damage caused by untreated

   diabetes.

                                           53.

         During Mr. Hixson’s stay at HRRJ, Nurse Raynes repeatedly refused to

   provide Mr. Hixson with his required, prescribed diabetes medications,

   including insulin, despite the fact that Nurse Raynes had the authority to ensure

   Mr. Hixson was ordered the prescription medication.

                                           54.

         During Mr. Hixson’s stay at HRRJ, Nurse Seekford repeatedly refused to

   provide Mr. Hixson with his required, prescribed diabetes medications,

   including insulin, despite the fact that Nurse Seekford had the authority to

   ensure Mr. Hixson was ordered the prescription medication.


                                                                                   16
Case 5:17-cv-00032-MFU-JCH Document 125 Filed 04/17/18 Page 17 of 47 Pageid#: 1300




                                           55.

         By her repeated refusal to provide Mr. Hixson with any medication to treat

   his diabetes (including Mr. Hixson’s required, prescribed diabetes medication),

   Nurse Raynes allowed Mr. Hixson’s diabetes to go untreated.

                                           56.

         By her repeated refusal to provide Mr. Hixson with any medication to treat

   his diabetes (including Mr. Hixson’s required, prescribed diabetes medication),

   Nurse Seekford allowed Mr. Hixson’s diabetes to go untreated.

                                           57.

         As a result of Nurse Raynes and Nurse Seekford’s repeated refusal to

   provide Mr. Hixson with any medication to treat his diabetes (including his

   required, prescribed diabetes medication such as insulin), Mr. Hixson suffered

   severe, excruciating pain throughout his feet, hands and legs, as well as

   experiencing blurred vision and ringing in his ears for months.

                                           58.

         Mr. Hixson’s bodily functions were severely impaired due to Nurse

   Raynes’s refusal to provide Mr. Hixson with insulin or any medication to treat

   Hixson’s diabetic condition.




                                                                                     17
Case 5:17-cv-00032-MFU-JCH Document 125 Filed 04/17/18 Page 18 of 47 Pageid#: 1301




                                          59.

         Mr. Hixson’s bodily functions were severely impaired due to Nurse

   Seekford’s refusal to provide Mr. Hixson with insulin or any medication to treat

   Hixson’s diabetic condition.

                                          60.

         Nurse Raynes refused to request that Dr. Moran, the HRRJ physician,

   provide Mr. Hixson with any medication to treat Mr. Hixson’s diabetes.

                                          61.

         Nurse Seekford refused to request that Dr. Moran, the HRRJ physician,

   provide Mr. Hixson with any medication to treat Mr. Hixson’s diabetes.

                                          62.

         On many occasions, Mr. Hixson made complaints to Nurse Raynes and

   Nurse Seekford about the failure of Dr. Moran, nurses Nurse Raynes and Nurse

   Seekford, and SHP to provide him with required insulin to treat his disability.

                                          63.

         Mr. Hixson told Nurse Raynes and Nurse Seekford about the physical

   ailments he was suffering due to Nurse Raynes and Nurse Seekford’s refusal to

   provide Mr. Hixson with any medication to treat his diabetes.




                                                                                     18
Case 5:17-cv-00032-MFU-JCH Document 125 Filed 04/17/18 Page 19 of 47 Pageid#: 1302




                                           64.

          Mr. Hixson’s complaints of severe pain and discomfort due to his

   untreated diabetes were directly received by Nurse Raynes.

                                           65.

          Mr. Hixson’s complaints of severe pain and discomfort due to his

   untreated diabetes were directly received by Nurse Seekford.

                                           66.

         As a result of being made aware of Mr. Hixson’s complaints, Nurse Raynes

   knew that Mr. Hixson was regularly experiencing excruciating pain throughout

   his feet, hands and legs, as well as experiencing blurred vision and ringing in his

   ears for months.

                                           67.

         As a result of being made aware of Mr. Hixson’s complaints, Nurse

   Seekford knew that Mr. Hixson was regularly experiencing excruciating pain

   throughout his feet, hands and legs, as well as experiencing blurred vision and

   ringing in his ears for months.

                                           68.

         In response to Mr. Hixson’s complaints about not receiving any

   medication to treat his diabetes, Nurse Raynes threatened to place Mr. Hixson in

   segregation if he continued to request medication to treat his diabetes.


                                                                                     19
Case 5:17-cv-00032-MFU-JCH Document 125 Filed 04/17/18 Page 20 of 47 Pageid#: 1303




                                            69.

         Nurse Seekford was made aware that Nurse Raynes threatened to place

   Mr. Hixson in segregation if he continued to request medication to treat his

   diabetes.

                                            70.

         Nurse Raynes was not disciplined for threatening to place Mr. Hixson in

   segregation if he continued to request medication to treat his diabetes.

                                            71.

         Nurse Seekford approved Nurse Raynes’s threats to place Mr. Hixson in

   segregation if he continued to request medication to treat his diabetes.

                                            72.

         In fear for his physical wellbeing and his life, Mr. Hixson continued to

   complain that he needed to receive his insulin to treat his diabetes.

                                            73.

         In response to Hixson’s continued complaints, Nurse Raynes tried to have

   the deputies put Mr. Hixson in segregation to punish him for requesting

   treatment of his diagnosed, serious medical condition and disability. After that,

   and after having requested diabetic medication for months, Hixson stopped

   requesting medication in fear for his life.




                                                                                    20
Case 5:17-cv-00032-MFU-JCH Document 125 Filed 04/17/18 Page 21 of 47 Pageid#: 1304




                                           74.

         Nurse Seekford was made aware that Nurse Raynes tried to have deputies

   place Mr. Hixson in segregation for complaining that he was not being given

   medication to treat his diabetes.

                                           75.

         Nurse Raynes was not disciplined for trying to have deputies place Mr.

   Hixson in segregation for complaining that he was not being given medication to

   treat his diabetes.

                                           76.

         Nurse Seekford approved Nurse Raynes’s attempts to have deputies place

   Mr. Hixson in segregation for complaining that he was not being given

   medication to treat his diabetes.

                                           77.

         As a result of Nurse Raynes’s total failure and refusal to provide diabetic

   medication to Mr. Hixson, a known diabetic, Mr. Hixson was severely and

   seriously injured, was put in fear of death, suffered extreme pain throughout his

   feet, hands and legs, suffered prolonged blurred vision and ringing in his ears,

   suffered damage to his internal organs, and lives in fear of a shortened life span

   as a result of damage to his internal organs.




                                                                                       21
Case 5:17-cv-00032-MFU-JCH Document 125 Filed 04/17/18 Page 22 of 47 Pageid#: 1305




                                           78.

         As a result of Nurse Seekford’s total failure and refusal to provide diabetic

   medication to Mr. Hixson, a known diabetic, Mr. Hixson was severely and

   seriously injured, was put in fear of death, suffered extreme pain throughout his

   feet, hands and legs, suffered prolonged blurred vision and ringing in his ears,

   suffered damage to his internal organs, and lives in fear of a shortened life span

   as a result of damage to his internal organs.

            B. Facts related to the liability of Southern Health Partners, Inc.

                                           79.

         SHP, a Tennessee corporation doing business in and with the

   Commonwealth of Virginia, is a regional health care provider that employs and

   contracts with medical care professionals to provide medical care to inmates.

                                           80.

         At all relevant times, SHP was under a contract with Rockingham County

   to provide medical care services to the inmates of HRRJ.

                                           81.

         SHP’s contract with Rockingham County stated that it would provide

   medical and support personnel reasonably necessary for the rendering of health

   care services to inmates at HRRJ.




                                                                                      22
Case 5:17-cv-00032-MFU-JCH Document 125 Filed 04/17/18 Page 23 of 47 Pageid#: 1306




                                           82.

         At all times relevant to this Complaint, SHP managed all phases regarding

   the provision of medical care to Hixson and other inmates at HRRJ.

                                           83.

         Mr. Hixson was an inmate at HRRJ during the period of time Rockingham

   County entered into a contract with SHP, a contract that required SHP to provide

   medical and support personnel reasonably necessary for the rendering of health

   care services to inmates at HRRJ such as Mr. Hixson.

                                           84.

         SHP entered into a contract with Janelle Seekford that provided that

   Janelle Seekford would be a licensed practical nurse who would render health

   care services to the inmates of HRRJ.

                                           85.

         SHP entered into a contract with Katherine Raynes that provided that

   Katherine Raynes would be a licensed practical nurse who would render health

   care services to the inmates of HRRJ.

                                           86.

         The contract between Rockingham County and SHP required SHP to hire

   medical staff.




                                                                                  23
Case 5:17-cv-00032-MFU-JCH Document 125 Filed 04/17/18 Page 24 of 47 Pageid#: 1307




                                          87.

         At all relevant times, Janelle Seekford and Katherine Raynes were

   employees of SHP.

                                          88.

         As employees of SHP, Janelle Seekford and Katherine Raynes rendered

   health care services to the inmates of HRRJ under the direction of SHP

   management.

                                          89.

         SHP established the work schedule for Janelle Seekford and Katherine

   Raynes.

                                          90.

         SHP established the operational procedures that Janelle Seekford and

   Katherine Raynes had to follow while working at HRRJ during all relevant times

   to this Complaint.

                                          91.

         SHP established standards of conduct—in addition to relevant, prevailing

   industry standards that applied to all Defendants—that Janelle Seekford and

   Katherine Raynes had to follow while working at HRRJ during all relevant times

   to this Complaint.




                                                                                 24
Case 5:17-cv-00032-MFU-JCH Document 125 Filed 04/17/18 Page 25 of 47 Pageid#: 1308




                                           92.

         SHP disciplined Janelle Seekford and Katherine Raynes whenever either

   violated any of SHP’s rules, polices, and/or regulations that applied to Janelle

   Seekford and Katherine Raynes while they worked at HRRJ, during all relevant

   times to this Complaint.

                                           93.

         SHP retained the authority to terminate Janelle Seekford and Katherine

   Raynes’s employment.

                                           94.

         Janelle Seekford and Katherine Raynes had to submit requests for vacation

   to SHP, and SHP had to approve said requests in order for Janelle Seekford and

   Katherine Raynes to take vacation time from their employment at HRRJ.

                                           95.

         At all relevant times, SHP had policies and procedures regarding the

   management of pharmaceuticals including the receipt, storage, preparation,

   dispensing, distribution, and had standing orders for both officers and nursing

   staff at HRRJ, with respect to medical services provided to inmates at HRRJ.

                                           96.

         Upon entering HRRJ, SHP performed a medical screening of Mr. Hixson

   and inquired as to whether Mr. Hixson was taking prescribed medication, and


                                                                                      25
Case 5:17-cv-00032-MFU-JCH Document 125 Filed 04/17/18 Page 26 of 47 Pageid#: 1309




   Mr. Hixson told SHP that he suffered from medically diagnosed diabetes and as

   a result, he must take medication (including insulin) to treat his serious

   condition.

                                           97.

         After Mr. Hixson told SHP that he had suffered from diabetes and that he

   had been prescribed insulin medication, Mr. Hixson provided SHP with

   information as to where to acquire his medical records from previous medical

   providers and pharmacies, and SHP immediately requested his medical records.

                                           98.

         While knowing that Mr. Hixson suffered from medically diagnosed

   diabetes while Hixson was incarcerated at HRRJ, SHP refused to provide

   prescription medication (or any medication) to treat Mr. Hixson’s known,

   medically diagnosed diabetes.

                                           99.

         By refusing to provide prescription medication (or any medication) to treat

   Mr. Hixson’s diabetes, SHP violated standard guidelines that applied to the

   provision of diabetic mediation to incarcerated inmates at HRRJ.

                                           100.

         As a direct result of SHP’s refusal to provide prescription medication (or

   any medication) to Mr. Hixson, Hixson was severely and seriously injured, was


                                                                                      26
Case 5:17-cv-00032-MFU-JCH Document 125 Filed 04/17/18 Page 27 of 47 Pageid#: 1310




   put in fear of death, suffered extreme pain in his hands and feet, suffered blurred

   vision and ringing in his ears, suffered damage to his internal organs, and suffers

   in fear of a shortened life span as a result of damage to his internal organs.

            C. Facts related to the liability of Dr. Moran

                                           101.

         Prior to providing medical services to Hixson, Rockingham County began

   paying Dr. Moran’s salary in order for him to provide medical services to

   inmates at Rockingham County.

                                           102.

         While working on behalf of the County, and being paid by the County, Dr.

   Moran was required to ensure that Mr. Hixson received diabetic medication

   upon Mr. Hixson’s medical records demonstrating that Mr. Hixson required

   diabetic medication.

                                           103.

         While working on behalf of the County, and being paid by the County, Dr.

   Moran was required to ensure that Mr. Hixson received diabetic medication

   when blood sugar tests performed by HRRJ medical staff demonstrated that Mr.

   Hixon required diabetic medication.




                                                                                    27
Case 5:17-cv-00032-MFU-JCH Document 125 Filed 04/17/18 Page 28 of 47 Pageid#: 1311




                                         104.

         While working on behalf of the County, and being paid by the County, Dr.

   Moran was required to order (by prescription or otherwise) diabetic medication

   for Mr. Hixson when blood sugar tests performed by HRRJ medical staff

   demonstrated that Mr. Hixon required diabetic medication.

                                         105.

         Defendant Moran was the medical doctor at HRRJ, from at least August 1,

   2016 through January 29, 2017.

                                         106.

         From at least August 1, 2016 through January 29, 2017, Dr. Moran was an

   employee of Rockingham County.

                                         107.

         At the time that he was providing medical services to Mr. Hixson, Dr.

   Moran was acting on behalf of the government entity, Rockingham County.

                                         108.

         During that time period that Dr. Moran was the medical doctor at HRRJ,

   Dr. Moran had the obligation to provide Mr. Hixson with medication to treat his

   diabetes.




                                                                                   28
Case 5:17-cv-00032-MFU-JCH Document 125 Filed 04/17/18 Page 29 of 47 Pageid#: 1312




                                          109.

         During Mr. Hixson’s entire stay at HRRJ, Dr. Moran knew Mr. Hixson

   required diabetes medication because Moran reviewed Mr. Hixson’s medical

   records, which demonstrated that while at HRRJ, Mr. Hixson required prescribed

   diabetes medication to treat his condition.

                                          110.

         Dr. Moran instructed HRRJ staff to serve a diabetic diet meal plan to Mr.

   Hixson.

                                          111.

         Within two weeks of Mr. Hixson entering HRRJ, Dr. Moran recorded, in

   Mr. Hixson’s medical records, that Mr. Hixson was a Type 1 diabetic.

                                          112.

         Dr. Moran ordered medical staff to check Mr. Hixson’s fasting blood sugar

   levels every morning, and he made this order multiple times by writing the order

   on Mr. Hixson’s Blood Sugar Flow Sheets.

                                          113.

         Dr. Moran had the authority to order Mr. Hixson medication to treat Mr.

   Hixson’s diabetes, but nevertheless refused to provide Mr. Hixson with any

   medication to treat Mr. Hixson’s diabetes, and refused to ensure that Mr. Hixson

   received some type of medication to treat Hixson’s diabetes.


                                                                                     29
Case 5:17-cv-00032-MFU-JCH Document 125 Filed 04/17/18 Page 30 of 47 Pageid#: 1313




                                             114.

          Dr. Moran personally reviewed Mr. Hixson’s Blood Flow Sheets, saw that

   Mr. Hixson’s blood sugar levels were always over 110 mg/dL (except three

   times), and initialed each of the flow sheets by the blood sugar readings with an

   “M.”

                                             115.

          During Mr. Hixson’s entire stay at HRRJ, Dr. Moran knew Mr. Hixson

   required diabetes medication because Dr. Moran reviewed the blood sugar tests

   that medical staff gave to Hixson on a daily basis, blood sugar tests that

   demonstrated dangerously high blood sugar levels for a known Type 1 diabetic,

   Mr. Hixson, whose medical records demonstrated that he had been prescribed

   insulin to control his Type 1 diabetes.

                                             116.

          During Mr. Hixson’s stay at HRRJ, Dr. Moran repeatedly refused to

   provide Mr. Hixson with his required (and prescribed) diabetes medication,

   including insulin.

                                             117.

          Dr. Moran received information from Mr. Hixson that Hixson suffered

   severe, excruciating pain in his hands and feet, blurred vision, ringing in his ears,

   and extreme discomfort.


                                                                                      30
Case 5:17-cv-00032-MFU-JCH Document 125 Filed 04/17/18 Page 31 of 47 Pageid#: 1314




                                          118.

         As a medical doctor, Dr. Moran knew the risks of untreated diabetes.

                                          119.

         As a medical doctor, Dr. Moran knew that prolonged periods of high

   blood sugar levels cause damage to the body’s internal organs.

                                          120.

         As a medical doctor, Dr. Moran knew that prolonged periods of high

   blood sugar levels cause damage to the body’s internal organs; Dr. Moran thus

   knew there were health risks to Mr. Hixson in particular if his blood sugar levels

   remained abnormal.

                                          121.

         During Mr. Hixson’s six-month stay at HRRJ, Dr. Moran knew that Mr.

   Hixson’s blood sugar levels reached severely high levels that, if untreated by

   diabetic medication, causes damage to the internal organs.

                                          122.

         Dr. Moran received complaints, which indicated the medical staff at HRRJ

   refused to provide Mr. Hixson with insulin required to treat his serious diabetes.

                                          123.

         As a result of Dr. Moran’s total failure and refusal to provide medical care

   to a known diabetic, Mr. Hixson was severely and seriously injured, was put in


                                                                                    31
Case 5:17-cv-00032-MFU-JCH Document 125 Filed 04/17/18 Page 32 of 47 Pageid#: 1315




   fear of death, suffered extreme pain in his hands and feet, suffered blurred vision

   and ringing in his ears, suffered damage to his internal organs, and suffers in fear

   of a shortened life span as a result of damage to his internal organs.

             D. Facts related to Monell claim

                                            124.

         During the time in which Mr. Hixson was incarcerated at HRRJ,

   approximately 4,000 blood sugar checks were performed on inmates at HRRJ.

                                            125.

         At all times relevant, costs for all prescription medication at HRRJ was the

   responsibility of HRRJ, except for emergency stock medication paid for by SHP.

                                            126.

         At all times relevant, Sheriff Brian Hutcheson served as the Jail

   Administrator of HRRJ. (ECF 41 ¶3.)

                                            127.

         With regards to the responsibility of sheriffs and jail superintendents for

   medicine, inter alia, Virginia law states that “[t]he sheriff or jail superintendent

   shall purchase at prices as low as reasonably possible…. such clothing and medicine as

   may be necessary.” Va. Code Ann. § 53.1-126 (emphasis added).




                                                                                          32
Case 5:17-cv-00032-MFU-JCH Document 125 Filed 04/17/18 Page 33 of 47 Pageid#: 1316




                                             128.

         On information and belief, at all times relevant to this complaint, Sheriff

   Brian Hutcheson was the final decisionmaker regarding the purchase of insulin

   and other diabetic medicine for inmates at HRRJ. See Fed. R. Civ. P. 11(b)(3).

                                             129.

         On information and belief, at all times relevant to this complaint, Sheriff

   Hutcheson was the final decisionmaker with respect to ordering diabetic

   medication (including insulin). See Fed. R. Civ. P. 11(b)(3).

                                             130.

         On information and belief, at all times relevant to this complaint, Sheriff

   Hutcheson was the final decisionmaker with regards to whether Rockingham

   County and/or City of Harrisonburg would absorb the costs of diabetic

   medication (including insulin) because, inter alia, ordering diabetic medication is

   inextricable from the county/city paying for said medication. See Fed. R. Civ. P.

   11(b)(3).

                                             131.

         Virginia law further states that “[i]nvoices or itemized statements of

   account from each vendor of such… medicines shall be obtained by the sheriff or

   jail superintendent and presented for payment to the governing body of the city

   or county or, in the case of regional jails, the regional jail authority or, if none,


                                                                                           33
Case 5:17-cv-00032-MFU-JCH Document 125 Filed 04/17/18 Page 34 of 47 Pageid#: 1317




   that body responsible for the fiscal management of the regional jails, which shall be

   responsible for the payment thereof.” Va. Code Ann. § 53.1-126 (emphasis added).

                                              132.

          At all times relevant, HRRJ was a “regional jail” as defined by Va. Code

   Ann. § 53.1-105.

                                              133.

          Virginia law further states that, “[e]xcept as provided in § 53.1-114 [for

   state reimbursements], the expenses of operating and maintaining a regional jail

   and supporting the prisoners working thereon, including… medical attention,

   shall be borne by the participating political subdivisions.” Va. Code Ann. § 53.1-

   112.

                                              134.

          At all times relevant to this complaint, Rockingham County and the City of

   Harrisonburg were the fiscal agents and operators of HRRJ. (ECF 41 ¶3.)

                                              135.

          At all times relevant to this complaint, Insulin had a “$$$” rating in SHP’s

   Drug Formulary for HRRJ, the highest rating, in terms of costs for medication.

                                              136.

          At all times relevant to this complaint, SHP’s Protocol for Diabetics at

   HRRJ, approved by Dr. Moran for use at HRRJ, stated that diabetics with fasting


                                                                                           34
Case 5:17-cv-00032-MFU-JCH Document 125 Filed 04/17/18 Page 35 of 47 Pageid#: 1318




   blood sugar levels of 150 or above should receive fast-acting insulin on a sliding

   scale.

                                             137.

            At all times relevant to this complaint, there was no medical reason for

   denying insulin or other diabetic medication to HRRJ inmates with insulin-

   dependent diabetes, including Mr. Hixson, when their blood sugar levels were

   above 150.

                                             138.

            At all times relevant to this complaint, there was no medical justification

   for knowingly and repeatedly denying prescribed medication, for approximately

   five months, to treat a known insulin dependent diabetic, with blood sugar levels

   ranging from the 150s all the way up to 407.

                                             139.

            On information and belief, at all times relevant to this complaint, Dr.

   Moran was the final decisionmaker at HRRJ with regards to prescribing diabetic

   medication to insulin-dependent diabetics, such as Mr. Hixson. See Fed. R. Civ.

   P. 11(b)(3).

                                             140.

            Prescribing medication is directly correlated to absorbing costs associated

   with obtaining said prescribed medication.


                                                                                          35
Case 5:17-cv-00032-MFU-JCH Document 125 Filed 04/17/18 Page 36 of 47 Pageid#: 1319




                                            141.

         On information and belief, at all times relevant to this complaint, Moran

   was the final decisionmaker with regards to which diabetic inmates at HRRJ

   receive diabetic medication (including insulin). See Fed. R. Civ. P. 11(b)(3).

                                            142.

         On information and belief, at all times relevant to this complaint, Dr.

   Moran was the final decisionmaker with respect to ordering diabetic medication

   (including insulin). See Fed. R. Civ. P. 11(b)(3).

                                            143.

         On information and belief, at all times relevant to this complaint, Dr.

   Moran was the final decisionmaker with regards to whether Rockingham County

   and/or the City of Harrisonburg would absorb the costs of diabetic medication

   (including insulin) because, inter alia, ordering diabetic medication is

   inextricable from the city/county paying for said medication so that Moran’s

   order would be filled. See Fed. R. Civ. P. 11(b)(3).

                                            144.

         On information and belief, prior to Mr. Hixson being incarcerated at HRRJ,

   HRRJ had a policy (informal or otherwise) of refusing to provide medication

   (including insulin) to inmates at HRRJ such as Mr. Hixson who were known by




                                                                                     36
Case 5:17-cv-00032-MFU-JCH Document 125 Filed 04/17/18 Page 37 of 47 Pageid#: 1320




   medical staff at HRRJ (including the named Defendants) to suffer from medically

   diagnosed, insulin-dependent diabetes. See Fed. R. Civ. P. 11(b)(3).

                                           145.

         On information and belief, the basis of the policy of refusing to prescribe

   medication (including insulin) to insulin-dependent inmates who were known

   by HRRJ staff to suffer from medically diagnosed diabetes was the cost of the

   medication. See Fed. R. Civ. P. 11(b)(3).

                                           146.

         On information and belief, while Mr. Hixson was incarcerated at HRRJ,

   HRRJ’s policy (informal or otherwise) of refusing to prescribe HRRJ inmates

   medication to treat known, medically diagnosed diabetes was in effect and thus

   applied to Mr. Hixson’s request for HRRJ to prescribe him medication (including

   insulin) based on his known, medically diagnosed diabetic illness. See Fed. R.

   Civ. P. 11(b)(3).

                                           147.

         On information and belief, at all times relevant to this complaint, when Dr.

   Moran implemented HRRJ’s policy (informal or otherwise) of refusing to

   prescribe HRRJ inmates such as Mr. Hixson diabetic medication (including

   insulin), as an employee of Rockingham County, Moran was acting on behalf of

   Rockingham County. See Fed. R. Civ. P. 11(b)(3).


                                                                                       37
Case 5:17-cv-00032-MFU-JCH Document 125 Filed 04/17/18 Page 38 of 47 Pageid#: 1321




                                           148.

          On information and belief, at all times relevant to this complaint, when Dr.

   Moran implemented HRRJ’s policy (informal or otherwise) of refusing to

   prescribe HRRJ inmates such as Mr. Hixson diabetic medication (including

   insulin), Moran was acting on behalf of the City of Harrisonburg. See Fed. R. Civ.

   P. 11(b)(3).

                                        COUNT I
        VIOLATION OF MR. HIXSON’S EIGHTH AMENDMENT RIGHTS
                            PURSUANT TO 42 U.S.C § 1983
   (Federal claim against Nurse Raynes, Nurse Seekford, and Dr. Moran in their individual
                                         capacities)

                                           149.

          Plaintiff fully incorporates paragraphs 1 through 123, and any paragraph this

   Court deems relevant, as fully stated herein to support this Count.

                                           150.

          Based on the incorporated paragraphs to support this Count I, Defendants

   Dr. Moran, Nurse Raynes, and Nurse Seekford violated Mr. Hixson’s right to be

   free from deliberate indifference to his known serious medical need for diabetic

   medication (prescription or otherwise) to treat his known, medically diagnosed

   condition of diabetes, and said right was clearly established at the time

   Defendants Dr. Moran, Nurse Raynes, and Nurse Seekford deliberately failed to

   provide Mr. Hixson with any medication at all to deal with Mr. Hixson’s known


                                                                                       38
Case 5:17-cv-00032-MFU-JCH Document 125 Filed 04/17/18 Page 39 of 47 Pageid#: 1322




   severe diabetic condition. Consequently, Mr. Hixson is entitled to all damages

   permissible under controlling law, as well as attorney fees and cost regarding

   this lawsuit.

                                        COUNT II
                               MEDICAL MALPRACTICE
          (State claim against Dr. Moran, Nurse Raynes, Nurse Seekford, and SHP)

                                           151.

         Plaintiff fully incorporates paragraphs 1 through 123, and any paragraph this

   Court deems relevant, as full stated herein to support this Count.

                                           152.

         Based on all the incorporated facts to support this Count II, as health care

   providers, by refusing to treat Mr. Hixson’s known, serious medical condition,

   Defendants Dr. Moran, Raynes, Seekford, and SHP breached all duties of care

   owed to Mr. Hixson regarding his health and wellbeing, utterly neglected Mr.

   Hixson’s safety, and acted with reckless indifference to the consequences of

   serious injury that their actions would cause Mr. Hixson. Mr. Hixson is entitled

   to all damages permissible under controlling law.




                                                                                      39
Case 5:17-cv-00032-MFU-JCH Document 125 Filed 04/17/18 Page 40 of 47 Pageid#: 1323




                                        COUNT III
                                RESPONDEAT SUPERIOR
                       (State claim against Southern Health Partners)

                                           153.

         Plaintiff fully incorporates paragraphs 1 through 123, and any paragraph this

   Court deems relevant, as full stated herein to support this Count.

                                           154.

         Based on the incorporated facts to support this Count, Seekford and

   Raynes were acting as employees of Southern Health Partners when they each

   violated the duty of care owed to Mr. Hixson, a medically diagnosed diabetic,

   and when they acted with utter disregard for Mr. Hixson’s safety and wellbeing,

   and when they acted with reckless indifference to the consequences of their

   actions and the serious injury it would cause Mr. Hixson. Consequently, Mr.

   Hixson is entitled to all damages permissible under controlling law.

                                      COUNT IV
                                   MONELL CLAIM
        VIOLATION OF MR. HIXSON’S EIGHTH AMENDMENT RIGHTS
                           PURSUANT TO 42 U.S.C § 1983
          (Federal claim against Rockingham County and City of Harrisonburg)

                                           155.

         Plaintiff fully incorporates paragraphs 1 through 148, and any paragraph this

   Court deems relevant, as fully stated herein to support this Count.




                                                                                    40
Case 5:17-cv-00032-MFU-JCH Document 125 Filed 04/17/18 Page 41 of 47 Pageid#: 1324




                                           156.

         Based on the incorporated paragraphs to support this Count, Rockingham

   County violated Mr. Hixson’s right to be free from deliberate indifference to his

   known serious medical need for diabetic medication (prescription or otherwise)

   to treat his known, medically diagnosed condition of diabetes. Said right was

   clearly established at the time Sheriff Hutcheson, on information and belief, as

   Jail Administrator responsible for the purchase of diabetic medication for HRRJ,

   refused to purchase diabetic medication for Mr. Hixson despite the fact that there

   was no medical justification for not providing Mr. Hixson with diabetic

   medication. As the final decisionmaker for the County with regards to

   purchasing medications, including insulin to treat diabetes, Hutcheson, on

   information and belief, implemented a policy (informal or otherwise) of denying

   insulin and other prescription diabetic medication to insulin-dependent diabetics

   incarcerated at HRRJ on the basis of cost instead of sound medical judgment.

   Consequently, Mr. Hixson is entitled to all damages permissible under

   controlling law, as well as attorney fees and cost regarding this lawsuit.

                                           157.

         Based on the incorporated paragraphs to support this Count, Rockingham

   County violated Mr. Hixson’s right to be free from deliberate indifference to his

   known serious medical need for diabetic medication (prescription or otherwise)


                                                                                      41
Case 5:17-cv-00032-MFU-JCH Document 125 Filed 04/17/18 Page 42 of 47 Pageid#: 1325




   to treat his known, medically diagnosed condition of diabetes. Said right was

   clearly established at the time Defendant Dr. Moran, as an agent of Rockingham

   County, deliberately failed to provide Mr. Hixson with any medication at all to

   deal with Mr. Hixson’s known severe diabetic condition. As the final decision

   maker for the County with regard to which inmates at HRRJ received prescribed

   medications, including insulin to treat diabetes, Dr. Moran, on information and

   belief, implemented a policy (informal or otherwise) of denying insulin and other

   prescription diabetic medication to insulin-dependent diabetics incarcerated at

   HRRJ on the basis of cost, instead of sound medical judgment. Consequently, Mr.

   Hixson is entitled to all damages permissible under controlling law, as well as

   attorney fees and cost regarding this lawsuit.

                                                158.

          The Amended Answer (ECF 41) to the First Amended Complaint explicitly states

   that both Rockingham County and the City of Harrisonburg are the fiscal agents and

   operators of the jail. Because of that joint fiscal responsibility, Plaintiff does not know

   which entity had the responsibility to pay for prescribed medication (e.g., insulin), or

   whether both entities jointly paid for prescribed medication. Consequently, Plaintiff

   pleads his Monell count against City of Harrisonburg as well because the Sheriff, charged

   with purchasing medication, including insulin, and Dr. Moran, responsible for




                                                                                                 42
Case 5:17-cv-00032-MFU-JCH Document 125 Filed 04/17/18 Page 43 of 47 Pageid#: 1326




   prescribing medication, including insulin, could have been acting on behalf of either or

   both entities.

                                              159.

          Based on the incorporated paragraphs to support this Count, the City of

   Harrisonburg violated Mr. Hixson’s right to be free from deliberate indifference

   to his known serious medical need for diabetic medication (prescription or

   otherwise) to treat his known, medically diagnosed condition of diabetes. Said

   right was clearly established at the time Sheriff Hutcheson, on information and

   belief, as Jail Administrator responsible for the purchase of diabetic medication

   for HRRJ, refused to purchase diabetic medication for Mr. Hixson despite the fact

   that there was no medical justification for not providing Mr. Hixson with

   diabetic medication. As the final decisionmaker for the City with regards to

   purchasing medications, including insulin to treat diabetes, Hutcheson, on

   information and belief, implemented a policy (informal or otherwise) of denying

   insulin and other prescription diabetic medication to insulin-dependent diabetics

   incarcerated at HRRJ on the basis of cost instead of sound medical judgment.

   Consequently, Mr. Hixson is entitled to all damages permissible under

   controlling law, as well as attorney fees and cost regarding this lawsuit.




                                                                                              43
Case 5:17-cv-00032-MFU-JCH Document 125 Filed 04/17/18 Page 44 of 47 Pageid#: 1327




                                          160.

         Based on the incorporated paragraphs to support this Count, the City of

   Harrisonburg violated Mr. Hixson’s right to be free from deliberate indifference

   to his known serious medical need for diabetic medication (prescription or

   otherwise) to treat his known, medically diagnosed condition of diabetes. Said

   right was clearly established at the time Defendant Dr. Moran, as an agent of the

   City of Harrisonburg, deliberately failed to provide Mr. Hixson with any

   medication at all to deal with Mr. Hixson’s known severe diabetic condition. As

   the final decision maker for the City of Harrisonburg with regard to which

   inmates at HRRJ received prescribed medications, including insulin to treat

   diabetes, Dr. Moran, on information and belief, implemented a policy (informal

   or otherwise) of denying insulin and other prescription diabetic medication to

   insulin-dependent diabetics incarcerated at HRRJ on the basis of cost, instead of

   sound medical judgment. Consequently, Mr. Hixson is entitled to all damages

   permissible under controlling law, as well as attorney fees and cost regarding

   this lawsuit.




                                                                                       44
Case 5:17-cv-00032-MFU-JCH Document 125 Filed 04/17/18 Page 45 of 47 Pageid#: 1328




                                       COUNT V
                               PUNITIVE DAMAGES
                 (Against Moran, Seekford, Raynes, and SHP individually)

         Based on the facts alleged in this complaint, Plaintiff is entitled to

   punitive damages, under all applicable laws, because Defendants Moran,

   Seekford, Raynes, and SHP acted with a willful and conscience indifference to

   the laws that protect Mr. Hixson.

                                       COUNT VI
                                     ATTORNEY FEES

         Based on the facts alleged in this Complaint, Mr. Hixson is entitled to

   attorney fees for his federal § 1983 claims.

         WHEREFORE, Mr. Hixson prays for a trial by jury of twelve and

   judgment against Defendants as follows:

         (a) That process issue and service be had on each Defendant;

         (b) That judgment be granted in favor of the Plaintiff against the

            Defendants, jointly and severally, for the injuries of Plaintiff;

         (c) That Plaintiff recover compensatory damages including pain and

            suffering, lost income and future lost income, and other expenses in an

            amount to be determined at trial, including attorney fees;

         (d) Plaintiff be awarded damages for his loss earnings and reduction in his

            earning capacity from Defendants;

         (e) That Plaintiff recover costs of this litigation;

                                                                                   45
Case 5:17-cv-00032-MFU-JCH Document 125 Filed 04/17/18 Page 46 of 47 Pageid#: 1329




         (f) That a jury trial be had on all issues so triable;

         (g) Plaintiff have Judgment against Defendants for punitive damages; and

         (h) That Plaintiff receives such other and further relief as the Court deems

            just and proper.

         Respectfully submitted on this 17th day of April 2018,

                                                  /s/ MARIO B. WILLIAMS
                                                  Mario B. Williams (VSB #91955)

                                                  /s/ ANDREW R. TATE
                                                  Andrew R. Tate (Ga. Bar #518068)

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   Counsel for Plaintiff




                                                                                     46
Case 5:17-cv-00032-MFU-JCH Document 125 Filed 04/17/18 Page 47 of 47 Pageid#: 1330




                               CERTIFICATE OF SERVICE

         I hereby certify that I have served a true and correct copy of the foregoing

   SECOND AMENDED COMPLAINT FOR MONETARY DAMAGES with the

   Clerk of Court using the CM/ECF system which will automatically send email

   notification of such filing to all counsel of record.

         Respectfully submitted on this 17th day of April 2018,

                                                  /s/ MARIO B. WILLIAMS
                                                  Mario B. Williams (VSB #91955)

                                                  /s/ ANDREW R. TATE
                                                  Andrew R. Tate (Ga. Bar #518068)

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                                                                                     47
